        Case 2:09-cr-00196-KJM Document 62 Filed 03/11/11 Page 1 of 2
 1   PETER KMETO
     Attorney at Law
 2   State Bar No. 78827
     1007 Seventh Street, Suite 100
 3   Sacramento, CA 95814
     (916) 444-7420; FAX: (916) 441-6714
 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                      IN THE UNITED STATES DISTRICT COURT

 7                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                      )    No. CR-S-09-196 GEB
                                                    )
10                      Plaintiff,                  )
                                                    )    STIPULATION AND ORDER
11         vs.                                      )    CONTINUING STATUS
                                                    )    HEARING
12   MICHAEL LEON W ILLIAMS, et. al.                )
                                                    )
13                      Defendant.                  )
                                                    )
14

15         Defendant: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record,

17   CAROLYN DELANEY, stipulate and agree to the following:

18         1. The presently scheduled date of March 11, 2011 for Status Hearing shall

19         be vacated as to defendant, MICHAEL LEON W ILLIAMS, only, and said

20         Hearing be rescheduled for April 8, 2011 at 9:00 a.m..

21         2. Both parties anticipate completion of settlement negotiations, which have

22         been delayed due to defense counsel’s trial schedule, and that the case will

23         be ready for entry of plea April 8, 2011. Accordingly, the parties stipulate that

24         time be excluded pursuant to 18 U.S. C. §3161(h)(7)(A) [Local Code T4] –

25         additional time to adequately prepare for pretrial proceedings.

26

27

28                                            -1-
         Case 2:09-cr-00196-KJM Document 62 Filed 03/11/11 Page 2 of 2
 1         IT IS SO STIPULATED.

 2   Dated:   March 10, 2011                   /s/ CAROLYN DELANEY
 3                                            Assistant U.S. Attorney
                                              for the Government
 4

 5
     Dated: March 10, 2011                 /s/ PETER KMETO
 6
                                            Attorney for Defendant
 7                                          MICHAEL LEON W ILLIAMS

 8

 9
                                              ORDER
10
                 UPON GOOD CAUSE SHOW N and the stipulation of the two parties,
11
     it is ordered that the hearing for STATUS HEARING as to Defendant, W ILLIAMS,
12
     only, be continued as set forth above.
13

14               The Court finds excludable time pursuant to 18 U.S.C. § 3161(h)(7)(A)

15   and Local Rule T-4 until April 8, 2011 for continuity of defense counsel and time to

16   permit defense counsel to prepare and properly advise his client.

17
     Dated: March 10, 2011
18

19

20                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
21

22

23

24

25

26

27

28                                             -2-
